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 1 LAW OFFICES OF CHRIS COSCA
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 2 1007 7th Street, Suite 210
   Sacramento, CA 95814
 3 (916) 440-1010

 4 Attorney for Defendant
   RYAN CHEAL
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 6

 7                              IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                              2:12-CR-0185-TLN
11                                 Plaintiff,               STIPULATION AND ORDER TO
                                                            CONTINUE JUDGMENT AND
12   v.                                                     SENTENCE
13   RYAN CHEAL,
14                                 Defendant.
15

16                                             STIPULATION
            The parties, by and through their counsel of record, hereby stipulate that the sentencing
17

18 hearing currently scheduled for February 28, 2019, should be continued to July 25, 2019, at 9:30

19 a.m.. A continuance is necessary because, while Mr. Cheal has pled guilty, a co-defendant is pending

20 appeal and trial, thus Mr. Cheal has not yet completed his cooperation obligations under his plea

21
     agreement. Moreover, any trial testimony by Mr. Cheal may help the Court gauge his remorse and
22
     rehabilitation, and thus assist the Court as it determines the sentence for Mr. Cheal.
23
     IT IS SO STIPULATED.
24

25 DATED:           February 21, 2019              /s/ Jason Hitt
                                                   JASON HITT
26                                                 Assistant United States Attorney
27

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                                                        1
     USA v. Cheal, Stip and Order to Con’t J&S
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 1 DATED:          February 21, 2019             /s/ Chris Cosca
                                                 CHRIS COSCA
 2                                               Counsel for Defendant
                                                 RYAN CHEAL
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 4

 5                                               ORDER
 6
     IT IS SO FOUND AND ORDERED this 21st day of February, 2019.
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                                                          Troy L. Nunley
11                                                        United States District Judge

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     USA v. Cheal, Stip and Order to Con’t J&S
